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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA; the     )
States of ARKANSAS, CALIFORNIA,   )
COLORADO, CONNECTICUT             )
DELAWARE, FLORIDA, GEORGIA,       )
HAWAII, ILLINOIS, INDIANA, IOWA, )
LOUISIANA, MASSACHUSETTS,         )
MICHIGAN, MINNESOTA, MISSOURI, )
MONTANA, NEVADA, NEW              )
HAMPSHIRE, NEW JERSEY,            )
NEW MEXICO, NEW YORK, NORTH )
CAROLINA, OKLAHOMA, RHODE         )
ISLAND, TENNESSEE, TEXAS,         )
VERMONT, VIRGINIA,                )                   Case No.: 1:22-CV-03013
WASHINGTON, WISCONSIN,            )
THE DISTRICT OF COLUMBIA,         )
ex rel. JEFFREY WILKERSON and     )                   Judge Sharon Johnson Coleman
LARRY JACKSON,                    )
                                  )
             Plaintiffs-Relators, )                   Magistrate Judge M. David Weisman
                                  )
                     v.           )
                                  )
ALLERGAN LIMITED f/k/a            )
ALLERGAN PLC and ALLERGAN         )
USA, INC.,                        )
                                  )
             Defendants.           )


  JOINT STIPULATION ON THE STATUS OF DEFENDANT ALLERGAN LIMITED

       Defendant Allergan Limited has not appeared yet in this lawsuit. However, the parties

have reached a stipulation under which Relators have agreed that they will not file a motion to

hold that defendant in default. The stipulation is as follows:

       1.      Counsel for Allergan USA, Inc. (“Allergan USA”) shall accept service on behalf

of Allergan Limited, which will retain any defenses that may be available to the entity other than

those relating to service of process;
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       2.     Allergan Limited may defer answering the Third Amended Complaint until such

time as Allergan USA's motion to dismiss is ruled upon by the Court;

       3.     If the Court denies Allergan USA’s motion to dismiss, Allergan USA and

Allergan Limited will both answer the Third Amended Complaint;

       4.     If the Court grants Allergan USA’s motion to dismiss, the parties agree that both

Allergan USA and Allergan Limited will be treated as dismissed. If dismissal is without

prejudice and Relators attempt to re-plead, both Allergan USA and Allergan Limited retain all of

their rights to object to the amended complaint, move to dismiss, or otherwise respond;

       5.     The Relators shall retain any rights that they may have to discovery relating to

any minimum contacts/in personam jurisdiction defense that may be raised by Allergan Limited;

and Relators shall not be deemed to have waived any such rights by their agreement that

Allergan Limited need not raise any such defense or otherwise respond until the Court has ruled

on Allergan USA’s pending motion to dismiss.

Dated: October 5, 2022.

Respectfully submitted,

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                 NOTICE OF FILING AND CERTIFICATE OF SERVICE

        I hereby certify that on October 5, 2022, I electronically filed the foregoing Joint
Stipulation on the Status of Defendant Allergan Limited with the Clerk of the United States
District Court for the Northern District of Illinois by using the CM/ECF system. I certify that all
participants in the case are registered CM/ECF users and that service will be accomplished by the
CM/ECF system.

                                                     /s/ Michael A. Sullivan
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